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                            EXHIBIT 3
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 16-cv-61752-Dimitrouleas/Snow

    VENUS FASHION, INC.,

            Plaintiff,

    vs.

    CHANGCHUN CHENGJI TECHNOLOGY
    CO., LTD.
    AUKEY INTERNATIONAL LIMITED, and
    AUKEY E-BUSINESS CO., LTD.,

            Defendants.
                                                           /

            Declaration Of Peter A. Chiabotti In Support of Plaintiff’s Emergency Motion
              For An Order Authorizing Alternate Service Of Process On Defendants
                            To Meet Court Ordered August 22 Deadline

            I, Peter A. Chiabotti, declare and state as follows:

            1.      I am an attorney with the law firm of Akerman LLP, 777 South Flagler Drive,

   Suite 1100 West Tower, West Palm Beach, FL 33401, and I am counsel of record for Plaintiff

   Venus Fashion, Inc. I submit this Declaration in support of Plaintiff’s Emergency Motion For

   An Order Authorizing Alternate Service Of Process On Defendants To Meet Court Ordered

   August 22 Deadline. I am personally knowledgeable of the matters set forth in this declaration

   and, if called upon to do so, I could and would competently testify to the following facts set forth

   below.

            2.      Attached as Exhibit A is a true and correct copy of an August 15 email received

   from “Jason” using the email address tongwenping@aukeys.com. The email forwarded an email

   from domain name registrar GoDaddy sent to the email address domain@aukeys.com, which is

   the email address used to register the vessos.com domain. GoDaddy informed the registrant that



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   the domain was locked and disabled in accordance with the Court’s August 12 Temporary

   Restraining Order, Dkt. No. 14. The email from tongwenping@aukeys.com was sent within 30

   minutes of receipt of the GoDaddy email at to domain@aukeys.com.

            3.     On August 15, 2016 and since, Plaintiff has served Defendants with all pleadings

   and orders and other documents issued by the Court via publication on Plaintiff’s Internet

   website at www.venuscopyrightenforcement.com/vessos/.

            I declare under penalty of perjury that the foregoing is true and correct. Executed this

   18th day of August 2016, at West Palm Beach, Florida.

   /s/Peter A.Chiabotti
   Peter A. Chiabotti




   {38990994;1}                                      2
